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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE



    UNITED STATES OF AMERICA                                                            PLAINTIFF

    VS.                                                                        NO. 3:05CR-78-03-H

    LUIS ENRIQUE DELRIO-OLIVAREZ                                                      DEFENDANT



                               REPORT AND RECOMMENDATION
                                CONCERNING PLEA OF GUILTY

           This matter has been referred to the undersigned Magistrate Judge by the District Court

    for the purpose of conducting proceedings pursuant to Fed.R.Crim.P. 11. The appropriate

    wavier was executed by the defendant and filed in the record. The Defendant, Luis Enrique

    Delrio-Olivarez, by consent and with R. Kenyon Meyer, CJA appointed counsel, appeared in

    open court on August 2, 2006, and entered a plea of guilty to Count 1 of the Superseding

    Indictment with a written plea agreement. The United States was represented by Madison

    Sewell, Assistant United States Attorney. The hearing was recorded by Alan Wernecke, Court

    Reporter. After cautioning and examining the Defendant under oath concerning each of the

    subjects mentioned in Rule 11, The Court determined that the guilty plea was knowledgeable

    and voluntary as to Count 1 of the Superseding Indictment, and that the offense charged is

    supported by an independent basis in fact concerning each of the essential elements of such

    offense. The defendant gives up his right to any property forfeited in Count 6 of the Superseding

    Indictment. Therefore, the undersigned recommend’s that the plea of guilty be accepted, and

    that the Defendant be adjudged guilty as to Count 1 in the Superseding Indictment and have
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    sentence imposed accordingly. Sentencing is hereby scheduled for October 27, 2006 at 11:30

    a.m. before the Honorable John G. Heyburn II, Chief Judge United States District Court.

           The defendant shall have ten (10) days to file any objections to this recommendation

    pursuant to Fed.R.Crim.P. 72(b), or waive the opportunity to do so. The defendant shall be

    remanded to the custody of the United States Marshal, pending further orders of the Court.




                                                                   August 3, 2006

    Copies to:
    United States Attorney
    Counsel for Defendant
    United States Marshal
    United States Probation




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